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            EXHIBIT 4
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION

                                 §
  LONE STAR TECHNOLOGICAL        §
  INNOVATIONS, LLC,              §
                                 §   Civil Action No. 6:19-CV-00059-RWS
            Plaintiff,           §
                                 §   LEAD CASE
       v.                        §
                                 §
  ASUSTEK COMPUTER INC.,         §
                                 §
            Defendant.           §   JURY TRIAL DEMANDED
                                 §
                                 §
                                 §
                                 §
      SUPPLEMENTAL EXPERT REPORT OF ALFRED D. DUCHARME, PhD.
           REGARDING INFRINGEMENT OF U.S. PATENT 6,724,435:




              ASUSTeK Computer Inc. (“ASUS”)
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  IX.    INFRINGEMENT OF CLAIMS 1–3, 5-6 & 13-15 OF THE ‘435 PATENT

         The opinions that I provide in this report are based on my nearly 30 years of professional

  experience in the relevant field of in display technology as detailed in my Curriculum Vitae

  attached to this report. The following is a high-level description of my process of reaching the

  conclusions contained in this report. I evaluated the evidence to determine whether each of the

  limitations of asserted claims of the ‘435 Patent – in light of the Court’s Claim Construction Order

  defining certain terms contained in those limitations – were present in each of the Accused

  Devices.     In my analysis, I conducted a careful review and considered the operations and

  capabilities of the Accused Devices and ASUS’s materials along with the other materials listed in

  in this report, to reach my conclusions contained in this report.

         It is my opinion that all of the limitations of each asserted claim are met by the Accused

  Devices as detailed below. As a result, my conclusion is that the Accused Devices infringe upon

  the asserted claims of the ‘435 Patent.

         The following section describes in more detail support for my opinions of infringement

  with regard to ASUS Accused Devices in light of the asserted claims. For purposes of brevity, my

  explanation below concerns an exemplary product, ASUS PA328Q:




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  My analysis in support of my opinions in this Report include the testing of the color functionality

  of the aforementioned Accused Device. Attached to this Report is a more detailed explanation of

  my testing, analysis and results Exhibits 1 & 2 (which I incorporate by reference herein). The

  testing I performed on the Accused Device confirms my opinions herein. Further, the opinions

  provided in this Report concern and apply to all ASUS Accused Products since the functionality

  among the Accused Products is essentially the same.

         An additional ASUS device was also tested, model VG248QE, which exhibited similar

  results. It is important to note that this device only allowed for 3-axis hue control.

         Since the authoring of my original expert report, I have had the opportunity to review

  excerpts of




                                                            As a result, my analysis and opinions are

  the same regardless of which chip set is used by ASUS’s Accused Products.

         As I stated in my original report, it is not necessary to review the MediaTek source code in

  forming my opinions because infringement is confirmed by the operation of the Accused Products,

  but my review of the MediaTek source code confirms the opinions stated in my original report. I

  reserve the right to supplement this report if necessary, after I have had the opportunity to review

  any additio9nal discovery that is provided (e.g. ASUS’s depositions).




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            between the image source and display device is an “HDMI” interface (which stands

            for “High Definition Multimedia Interface,”). It supports the transmission of video

            data in the sRGB color space as well as YCbCr color space. However, both color

            formats contain input data that includes color or color component values that are

            plotted in an input grid of a display device to be rendered by the display.

         49. Specifically, ASUS’s Accused Devices must receive and characterize an input source

            otherwise the device would be incapable of rendering an output video. Said another

            way, it is technically necessary for an Accused Device to receive and characterize an

            input signal in a particular color space (sRGB or otherwise), or else it would not be

            able to render an output video. Additionally, if the Accused Device does not literally

            infringe by receiving and characterizing an input source, then it infringes under the

            doctrine of equivalents. The Accused Devices are capable of achieving substantially

            similar results using insubstantially different operations. For example, the Accused

            Device’s capability of receiving and characterizing an input from either (for example)

            an HDMI or DVI input source, it is still capable of rendering a video output image.

            Thus, in my opinion this claim limitation is satisfied.

            A review of MediaTek’s Source Code further confirms that the Accused Device

            performs this claim limitation. For example, in the file




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                                       This confirms the real time digital video input image received

               and characterized by the Accused Device has input image pixels (in YUV format).

                 3.      selecting to independently change the hue or the saturation of an
                         individual color in the real time digital video input image, by selecting
                         an independent color hue control delta value or an independent color
                         saturation control delta value, respectively, wherein said independent
                         color hue control delta value represents an extent of change in the hue
                         of said selected individual color and wherein said independent color
                         saturation control delta value represents an extent of change in the
                         saturation of said selected individual color;

           50. As previously referenced, “ASUS features an advanced color adjustment so you can

               individually customize hue and saturation for each axis color under the Scenery

               mode and Dark mode. For example, you can adjust the six colors (red, green, blue,

               cyan, magenta, and yellow) without affecting the output of the other colors.” 9

           51. Each Accused Device allows for the selection of an individual color in the video input

               image. As referenced and explained in many of the user manuals, the Accused

               Devices are enabled to allow for hue and saturation changes to individual colors.

               ASUS PA328Q manual illustrates the functionality of the display to achieve same:10




  9
   LSTI-ASUS-7332-66
  10
     ASUS PA328 Series LCD Monitor User Guide p. 3-2 (available at
  https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PA328/PA328_English.pdf )
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  55.    If I were to adjust the saturation of the individual color red from 50 to 100,

         the “extent of change” would be 50—the difference between the existing value and the

         increase or decrease of saturation. This is the same for hue.

  56.    Importantly, the claim limitation does not require a specific control delta value. Whether

         a device provides an adjustment scale of 0-50, -1 to 1, of 1 to 100 is not claimed. Thus,

         in my opinion, this claim limitation is satisfied.

  57.    Review of MediaTek’s Source Code further confirms my opinion.




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                    4.      identifying a plurality of said input image pixels having said selected
                            individual color in the real time digital video input image with the hue
                            or the saturation selected to be independently changed, by performing
                            arithmetic and logical operations using input image pixel values of each
                            said input image pixel of the real time digital video input image;

   58.        The next step of claim 1 requires the identification of one or more pixel values having

              the selected individual color to be changed, using arithmetic and logical operations of

              said values. The Accused Devices satisfies this limitation as explained below.

   59.        First, based on my knowledge, training and experience in the field, I am aware that the

              basics of display technology involve the use of pixel values.

   60.        For every pixel on a display, a pixel value is expressed in order for the device to

              ultimately render an image, pixel by pixel, frame by frame.

   61.        As previously noted, the construction of input image pixels means “input data that

              includes color or color component values and that can be plotted in an input grid of a

              display device.” In other words, input image pixels are merely values of colors associated

              pixels typically (but not necessarily) expressed in coordinates (i.e. grids).

   62.        Based on my knowledge, training and experience in the manner in which digital display

              devices operate, for any color changes, whether it involves adjusting the saturation of the

              entire image or that of an individual color, the color change occurs by the manipulation

              of the input image pixel values. As one source explains:14




  14
       KEITH JACK, VIDEO DEMYSTIFIED: A HANDBOOK FOR THE DIGITAL ENGINEER (Elsevier 4th ed. 2005) p. 16.
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               Semiconductor provides microprocessors for many ASUS Accused Devices.16 And,

               because microprocessors necessarily perform calculations and functions using arithmetic

               and logical operations—math and logic, basic arithmetic and compare functions— the

               Accused Devices therefore satisfy this claim limitation.

   65.         Further, each of the Accused Devices also use software instructions executing on the

               processor chip to recognize the user's selection of color adjustments wherein pursuant to

               such selection, the software instructions generally transform the measured color space

               (i.e. the color points as measured on the input video stream) to the desired color space

               (i.e. the output according to the custom color mode). It is well understood that a processor

               executing such software instructions necessarily comprises one or more arithmetic and

               logical units (ALUs) and a control unit (CU). An ALU is responsible for arithmetic

               operations (e.g. addition, subtraction, etc.) and for logical operations (e.g. such as and,

               or, etc.) A. Processors routinely use these arithmetic and logical operations to transform

               data stored in registers. Therefore, it is my opinion that in converting the color space

               from measured color space to desired color space - and selectively adjusting the colors

               represented by input image pixels, the processor in each respective Accused Device

               necessarily use arithmetic and logical operations for identifying the image pixels in the

               input image , recognizing the color point of the pixel in accordance with the measured

               color space and for transforming the color point of the pixel to one in accordance with

               the desired color space.

   66.         A review of MediaTek’s Source Code further confirms that the Accused Device performs

               this claim limitation. For example, in the file



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       I have provided a “tear down” to this report shown as Exhibit 3 and incorporated by reference.

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   70.       Importantly, the claim does not require a specific method of achieving changes to hue or

             saturation of an individual color in digital video, just that the identification of the pixels

             to be changed. Based on my knowledge, training and experience in the field, I am of the

             opinion that it is certainly beyond a preponderance that display processors operate by

             using arithmetic and logical operations by their nature. For that reason alone, it was not

             necessary for me to analyze the source code. However, my subsequent review of the

             source code confirms my opinions. Thus, in my opinion, this claim limitation is satisfied.

             Additionally, if the Accused Devices do not literally infringe this recited step, then they

             infringe under the doctrine of equivalents. The Accused Device is capable of achieving

             substantially similar results using insubstantially different operations. For example, the

             Accused Devices are capable and do achieve identifying the pixel values with the

             individual color to be changed and applying the change to either hue or saturation. Those

             values do change accordingly, as confirmed and explained by my testing of the Accused

             Products. Therefore, even if the Accused Devices, for example, uses a matrix or LUT

             transform, it still achieves substantially similar results with insubstantially different

             operations.17




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    To the extent additional discovery (e.g. ASUS depositions, etc.) is subsequently produced, discovered or made
  available, I reserve the right to supplement this report and my opinions contained herein.

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         76. A review of MediaTek’s Source Code further confirms that the Accused Device

            performs this limitation.




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  6. If the Accused Devices do not literally infringe this recited step, then they infringe under
         the doctrine of equivalents. The Accused Device is capable of achieving substantially
         similar results using insubstantially different operations. displaying a real time digital
         video output image including said corresponding plurality of said output image pixels
         having said selected individual color with the hue or the saturation selected to be
         independently changed in the real time digital video input image, whereby the hue or
         the saturation of said selected individual color in the real time digital video input
         image has been changed without affecting the hue or the saturation of any other
         individual color in the real time digital video input image.

           77. The primary objective of any display device is to render the characterized, processed

               or adjusted, image to the user. It is also preferred that this operation occur at high

               speed so that the operations described previously do not delay the displayed image.

               Once the input image has been characterized and processed it is then displayed using

               standard electronic means of transferring the colors and geographical pixel

               information to the LCD panel. This is typically performed by a LCD controller

               application specific integrated circuit. In reviewing the electronic make-up of the

               Accused Device identified such a device the AOU-12409 LCD controller. The output

               of this device most likely adheres to industry standards utilizing the common Low-

               voltage differential signaling, or LVDS, also known as TIA/EIA-644 (standard).

               This cable is the electronic means by which the processed image is transferred to the

               LCD panel for display.

           78. It is my opinion, is that the Accused Device satisfies the first part of this claim by

               displaying the processed input image onto the display.

           79. Further, my own test results of the Accused Device prove conclusively that the

               second part of the claim is satisfied. Specifically, the adjustment of a selected
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                individual color by the user resulted in no change in color of the other individual

                colors in the displayed image.

            80. Thus, the Accused Devices meet each and every limitations of the steps of Claim 1

                of the ‘435 Patent.

            81. Finally, based on my knowledge, training and experience, a user of an Accused

                Device will at least implement the patented technology one time to initialize the

                proper setup and adjust the colors of the display or projector.

            82. In fact, based on my knowledge, training and experience, I understand that color

                calibration is recommended at between 200-300 hours of use19 or at least 2-6 weeks

                to ensure color accuracy in displays. 20

            83. Further, because many if not all manufactures implement some form of quality

                control, because color accuracy matters to its customers, I am of the opinion that the

                Defendants practice the claimed method even before the Accused Devices are put on

                the market for sale.     For example, ASUS represents that its “ProArt Display

                PA248QV is factory calibrated and Calman Verified to guarantee industry-leading

                color accuracy. Every ProArt display undergoes stringent, meticulous testing to

                ensure smoother color gradation. Consumer of pro, you're assured color-accurate

                viewing and content-creation experiences.”21

            84. Moreover, based on my analysis of the Accused Devices, it is of my opinion that

                ASUS provides plain instructions to its users on exactly how to implement the




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     LSTI002921-32
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     https://www.asus.com/us/Monitors/ProArt-Display-PA248QV

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         91. Because ASUS uses a numerical range of 0 to 100 for hue and saturation controls, this

            claim is satisfied.

         92. A review of MediaTek’s Source Code confirms the Accused Device performs this claim

            limitation.




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  E. Claim 6

                1.      The method of claim 1, whereby in step (b), numerical range of said
                        independent color hue control delta value is an interval between −1 and
                        +1.

         93. The Accused Device utilizes a range of values between 0 to 100. However, the

               default value of these settings is 50. The user can apply a greater amount of an

               individual color by increasing the setting above 50. The opposite is also true for the

               Accused Device, a setting below 50 results in a reduction of the amount of an

               individual color. The range displayed to the user are 0 to 100 but could also easily

               be expressed using -1-to-1 since the sign of this notation represents the values utilized

               by the device considering that the default value is 50. The range of 0-to-100 can be

               adjusted by subtracting 50 to transform the interval to -50-to-50. The division of this

               range by the central value of 50 yields the new range of -1-to-1.

         94. It is my opinion that the Accused Device infringes this claim since the number

               displayed to the user is inconsequential.




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